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                 San Diego, California




                                              Mohammed Ereikat
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                                         15                        IN THE UNITED STATES DISTRICT COURT
                                         16                          NORTHERN DISTRICT OF CALIFORNIA
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                                                    Mohammed Ereikat,                                         Case No.: 3:17-cv-02000-KAW
                                         19
                                                                     Plaintiff,
                                         20
                                                    v.                                                        JOINT MOTION FOR
                                         21                                                                   DISMISSAL OF ACTION WITH
                                                    American Express Centurion Bank,                          PREJUDICE
                                         22         Equifax Information Services, LLC
                                                    and TransUnion, LLC,                                      HON. RICHARD SEEBORG
                                         23
                                         24                            Defendants.
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                                               ______________________________________________________________________________________________________
                                                    JOINT MOTION FOR DISMISSAL                - 1! of ! 3 -                    3:17-cv-02000-KAW
                                                     Case 3:17-cv-02000-RS Document 51 Filed 10/24/17 Page 2 of 3


                                          1          Plaintiff MOHAMMED EREIKAT, (hereinafter “Plaintiff”) Defendant
                                          2   EQUIFAX INFORMATION SERVICES LLC, (hereinafter “Defendant”) (all
                                          3   jointly hereinafter referred to as “the Parties”) hereby move to dismiss the above
                                          4   entitled action with prejudice.
                                          5          The Parties agree that this Court can proceed to dismiss this action entirely
                                          6   with prejudice.
                                          7          The Parties agree that each party is to bear their own fees and costs.

                                          8   WHEREFORE, the Parties respectfully request that this Court dismiss this action

                                          9   with prejudice.

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                                              Dated: October 24, 2017                                    HYDE & SWIGART
HYDE & SWIGART




                                         13
                 San Diego, California




                                         14                                                      By: s/F. Jay Rahimi
                                                                                                      F. Jay Rahimi
                                         15                                                            Attorney for Plaintiff
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                                              Dated: October 24, 2017                                    NOKES & QUINN
                                         19
                                                                                                 By: s/Thomas P. Quinn, Jr.
                                         20
                                                                                                      Thomas P. Quinn, Jr.
                                         21                                                           Attorney for Defendant
                                                                                                      Equifax Information Services,
                                         22                                                           LLC
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                                                JOINT MOTION FOR DISMISSAL                    - 2! of ! 3 -                    3:17-cv-02000-KAW
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                                          2                                       Signature Certification
                                          3          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative

                                          4   Policies and Procedures Manual, I hereby certify that the content of this document

                                          5   is acceptable to Thomas P. Quinn, Jr., counsel for the Defendant, and that I have
                                              obtained their authorization to affix their electronic signature to this document.
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                                          8
                                              Dated: October 24, 2017                                    HYDE & SWIGART
                                          9
                                                                                                              By: s/F. Jay Rahimi
                                         10
                                                                                                              F. Jay Rahimi
                                         11                                                                    Attorney for Plaintiff
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HYDE & SWIGART




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                 San Diego, California




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                                                JOINT MOTION FOR DISMISSAL                    - 3! of ! 3 -                      3:17-cv-02000-KAW
